       To:    The Honorable Frank D. Whitney
              Chief U.S. District Court Judge
    From: Asa Gravley
              Probation Officer




  Subject: Demon Montico Morris
              Case Number: 0419 3:05CR00104- 013                                                NORTH CAROLINA WESTERN
              OUT-OF-COUNTRY TRAVEL                                                                      MEMORANDUM
     Date: 2/12/2018


On December 11, 2007, the above referenced individual appeared before Your Honor after having pleaded guilty to
conspiracy to possess with intent to distribute cocaine and cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and 846, a
Class A Felony. He was sentenced to 125 months of imprisonment, followed by a twenty (20) year term of supervised
release.

On March 25, 2015, Mr. Morris commenced his term of supervised release in the Western District of North Carolina. Since
commencing his term of supervision, Mr. Morris has been semi-compliant with the conditions of release. Currently, Mr.
Morris maintains full-time employment as a laborer for Chept Pallet, a position he has held since March 2015. Additionally,
Mr. Morris was removed from the telephonic urinalysis program (also known as CAP) due to extended compliance with
program rules. However, on January 18, 2018, Mr. Morris traveled to Las Vegas without this officer’s permission. The
probation officer has addressed this issue with Mr. Morris and he now understands appropriate travel procedures. The
$100 special assessment fee was satisfied while Mr. Morris was in the custody of the Bureau of Prisons (BOP). He does
not owe any other financial obligations.

Mr. Morris is requesting to travel April 21, through April 26, 2018, with his significant other, Arron Berry, to Charleston,
South Carolina, for a five-day cruise to the Bahamas. Specific ports will include Nassau, The Bahamas, on April 23, 2018,
and Princess Cays, The Bahamas, on April 24, 2018. Notwithstanding the aforementioned noncompliance, we do not have
any objections to Mr. Morris’ request to travel.

Thank you for your time and attention to this matter. Please do not hesitate to contact me at 704-350-7677, should you have
any questions.




 THE COURT ORDERS:

 ☒ Permission to Travel Approved
 □ Permission to Travel Denied
 □ Other




                                                                 Signed: February 12, 2018




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